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                                                                                                 E-FILED
                                                                 Friday, 03 December, 2021 09:42:00 AM
                                                                            Clerk, U.S. District Court, ILCD
                       UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF ILLINOIS
                              PEORIA DIVISION

UNITED STATES OF AMERICA                         )
     Plaintiff,                                  )
                                                 )
              v.                                 )
                                                 )
                                                          Case No. 20-cr-10081
SCOTT ALAN DRISKILL                              )
    Defendant.                                   )
                                                 )
                                                 )
                                                 )

                                        ORDER

       Before the Court is a Report and Recommendation [Doc #44] of the United States
Magistrate Judge Johnathan E. Hawley that the Defendant’s plea of guilty to Counts One
and Two of the Indictment [Doc.1] filed in this case and entered on September 21, 2021
be accepted by the assigned United States District judge. No objections to the Report
and Recommendation were filed.
       Upon a de novo review f the record, pursuant to 28 U.S.C. § 636(b)(1), the Court
ADOPTS the Report and Recommendation of the United States Magistrate Judge. See
Video Views, Inc. v. Studio 21, Ltd., 797 F.2d 538 (7th Cir. 1986). Defendant’s plea of
guilty to Counts One and Two of the Indictment is hereby ACCEPTED. The Clerk of the
Court is to file this acceptance in this case.
So ORDERED.
Entered this 3rd day of December, 2021.
      -Nunc pro tunc September 21, 2021.

                                                      s/Joe B. McDade
                                                     Honorable Joe B. McDade
                                                     Senior United States District Judge
